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                       UNITED STATES COURT OF APPEALS FOR THE SECOND CIRCUIT
          Thurgood Marshall U.S. Courthouse 40 Foley Square, New York, NY 10007 Telephone: 212-857-8500
                                                    MOTION INFORMATION STATEMENT

                              19""2""'3=<--____________________~C~ap""ti~o:.:.n.u[u!.'!se~s~h~ort~tit~le:'..l,.J_ _ _ _ _ _ __
Docket Number(s): ...1""'0'--....

Motion for: strike portiQns of Appellant's Brief & Appendix                  In re: Gennady Gorelik,
Set forth below precise, complete statement ofrelief sought:                                                Debtor,
                                                                                                                                         j'.,..:)

                                                                                                                            U)           '"~""
1) Strike portions of Appellant's Brief referencing extra­                   Gennady Gorelik,                              n (j         .­
                                                                                                                              J...-._   """"


record materials; 2) Strike orders from Special Appendix,                            Plaintiff-Counter-Defenda@~:A~pellfiei
                                                                                                                      c:;;;o·" .        ."j

                                                                             v.                                       .",~
                                                                                                                      ""'....      ~
                                                                                                                      -.-.J C
which are not being appealed; 3) Strike parts ofAppendix Elena Gorelik,                                                        1./)
                                                                                                                      rtj -,'1 C)
                                                                                                                                        c.~)


                                                                                          ;:!"1~ -1 -n
which are outside the record or present excluded material.      Defendant-Counter-Claillftaifl&AppeUant.
                                                                                                                           -Cc""
MOVING PARTY: Gennady Gorelik                                               OPPOSING PARTY: Elena Gorelik              £:rn 01
                                                                                                                            r."?
         o
        Plaintiff              Defendant0                                                                             .r                            ~--


         o
        Appellant/Petitioner 0 AppelleelRespondent
MOVING ATTORNEY: Gennady Gorelik, Pro Se                     OPPOSING ATTORNEY: Henry 1. Boitel, Esq.
                              [name of attorney, with fim, address, phone number and e-mail]
2928 W. 5th Street, Apt. 14M                                                324 Brower Avenue
Brooklyn, NY 11224                                                          Rockville Centre, NY J 1570-2625
(718) 223-1928                                                              (516) 594-1234
genador@gmail.com                                                           boitel@mindspring.com
Court-Judge/Agency appealed from: US District Court, SONY, Hon. Stephen C. Robinson, USDJ

Please check appropriate boxes:                                             FOR EMERGENCY MOTIONS, MOTIONS FOR STAYS AND
                                                                            INJ1JNCTIONS PENDING APPEAL:
Has movant notified opposing counsel (required by Local Rule 27.1):         Has request for relief been made below?               (hes D/No
                 0
       [I Yes No (explain): Local Rule 27.1 only applies to                 Has this relief been previously sought in this Court? DlYes D No
cases, where all parties are represented by counsel.                        Requested return date and explanation of emergency:_ _ _ _ _ _ __
Opposing counsel's position on motion:
        DI Unopposed Dopposed [JDon't Know
Does opposing counsel intend to file a response:
        DYes DI No D1Don't Know

Is oral argument on motion requested?            DI Yes mNo (requests for oral argument will not necessarily be granted)
Has argument date of appeal been set?             DYes    mNo If yes, enter ..-......___..__________________.._____.____
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-4i1.gc.0<\4..VJoJo!!O('/l..AoII-~~-I!!:U'-~Date: Qf"Q Ii I 20 "            Has service been effected?   mYes DI No [Attach proof of serviceJ

                                                                       ORDER
IT IS HEREBY ORDERED THAT the motion is GRANTED DENIED.

                                                                                  FOR THE COURT:
                                                                                  CATHERINE O'HAGAN WOLFE, Clerk of Court

Date: _______________________                                               By: _____________________________




Form T-I080
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                            UNITED STATES COURT OF APPEALS
                                         for the
                                    SECOND CIRCUIT

In re: Gennady Gorelik,
        Debtor-

 Gennady Gorelik,
      Plaintiff-Counter-Defendant-Appellee,                          Docket Number: lO-1923

v.

Elena Gorelik,
      Defendant-Counter-Claimant-Appellant.



         APPELLEE'S DECLARATION IN SUPPORT OF MOTION TO STRIKE
            THE PARTS OF THE APPELLANT'S BRIEF AND APPENDIX

        GENNADY GORELIK, Appellee pro se, declares that the following description of facts

and events is true under penalty ofperjury:

        1.     This declaration is in support of my instant motion to strike a) portions of Appel­

lant's Brief referencing extra-record material; b) orders from the Appellant's Special Appendix,

which are not subject to appellate review; and c) parts of the Appellant's Appendix, which are

either outside the record on appeal or constitute memoranda of law unrelated to issues raised on

this appeal.

       2.      The Appellee moves upon the following grounds: Rule lO(a), F. R. App. P. ("com­

position of the record on appeal"); Local Rule 32.1 (c) ("the parties must file a Special Appendix

... that contains the (1) orders, opinions, and judgments being appealed"); Rule 30(a)(2) ("Me­

morandum of law in the district court should not be included in the appendix unless they have

independent relevance").



                                                 I
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        3.   As a preliminary matter, references to pages of Appellant's Special Appendix, will

be made herein as SPA _ , and references to pages of Appellant's Appendix as A _ . The ref­

erence to the docket entries in the Bankruptcy Adversary Proceeding 05-23651-ASH will be

made herein as BANKR DE

       4.    This appeal is from the final order of the US District Court for the Southern District

of New York (Hon. Stephen C. Robinson, D.l.), entered on March 30, 2010 (SPA 1-17). That

order affirmed the final order and judgment by the Bankruptcy Court for the Southern District of

New York (Hon. Adlai S. Hardin, B.l.), entered on June 16,2006 (SPA 19-48), which held that

"any putative judgment or award in favor of Elena and against Gennady in respect of Elena's

custody litigation fees would not constitute 'support' within the meaning of Section 523(a)(5) of

the Bankruptcy Code and therefore would be dischargeable under Section 727(a) of the Code"

(SPA 47).

 DOCUMENTS TO BE STRICKEN FROM THE APPELLANT'S SPECIAL APPENDIX

       5.    Appellant filed a Notice of Appeal from the Bankruptcy Judgment on June 26, 2006

(Bankr DE 37). On the same day, Appellant filed a Motion to Amend Facts, pursuant to Rule

9023, F. R. Bankr. P. (Bankr DE 34). That post-judgment motion was denied by the Bankruptcy

Court in the Order Denying Motion to Amend Facts, entered on July 13, 2006 (Bankr DE 41).

Appellant did not amend her previously filed Notice of Appeal. Nor did Appellant file a new No­

tice of Appeal from that order.

       6.    On August 29, 2006, Appellee filed a Motion for Order Granting Leave to Proceed

on Appeal in Forma Pauperis (BANKR DE 55). The Bankruptcy Court denied that motion on

September 27, 2006 (BANKR DE 60). Appellee did not appeal from that order.




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        7.     Appellant included both aforementioned orders in her Special Appendix, as orders

on appeal 4 and 6: "4. Order of the Bankruptcy Court Denying Motion to Amend Facts (Hardin,

B.J.) (July 12, 2006)" (SPA 49-57) and "6. Order of the Bankruptcy Court Denying Debtors's

[sic] Motion to Proceed on Appeal in Fonna Pauperis (Hardin, B.J.) (September 27,2006)" (SPA

59-60). In her initial Brief, Appellant makes numerous references to those two orders (Appel­

lant's Brief, pp. 2, 18, 19).

       DOCUMENTS TO BE STRICKEN FROM THE APPELLANT'S APPENDIX

        8.    Similarly, Appellee seeks to strike the following documents, which are either not

subject to appellate review or outside the record on appeal:

             a) Order Denying Motion to Amend Facts (Hardin, J.) (July 12, 2006) (A54-62);

             b) Order Denying Motion to Proceed on Appeal in Fonna Pauperis (Hardin, 1.) (Sep­

                tember 27,2006) (A64-65);

             c) Affidavit in Support of Motion for Correction of Facts, Motion and Memorandum

                (A 497-513);

             d) Mr. Gennady Gorelik's Psych Report (A 412-430).

       9.     As already shown in the previous section, the first two orders are not subject to ap­

pellate review and, as such, are outside the record on appeal (Appellant included those orders

twice: in her Special Appendix and in her Appendix). For the same reason that Order Denying

Motion to Amend Facts is outside the record on appeal, the Appellant's affidavit in support of

that motion (the third item on the list above) is outside the record on appeal as well.

       10.    Finally, the "Psych Report" (the forth item on list) is an alien document, which is

not a part of the record of proceedings before the Bankruptcy Court.




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        11.    Appellant seeks to strike the following memoranda of law, as excluded material in

accordance with Rule 30(a)(2), F. R. App. P.:

       a) Memorandum of Law of Henry J. Boitel, Esq. Counsel to Dr. Marie Weinstein in

              Support of Order to Show Cause to Quash Subpoena (Apr. 15,2006) (A 45I~475);

       b) Elena Gorelik's Memorandum of law (May 14,2006) (A 484-496).

                    PORTIONS OF THE APPELLANT'S BRIEF TO BE
               STRICKEN AS REFERRING TO EXTRA-RECORD MATERIAL

       12.     Running throughout the Appellant's Brief are numerous assertions that purport to

rest upon factual conclusions made by the State Supreme Court on March 9,2010 (Appellant's

Brief, p. 17), nearly four years after the Bankruptcy Judgment on appeal was entered. It is note­

worthy, that Appellant has not informed either the Bankruptcy Court by moving under Bankrupt­

cy Rule 9024 or the District Court by moving under Rule 60(b), F. R. Civ. P., of this alleged

"newly discovered evidence". Nor has Appellant made a motion before this Court, seeking to

supplement the record with "new evidence" from a recent state court's decision. Raising these

alleged factual conclusions for the first time in her Brief, Appellant cannot even support them

with any record references, since they occurred in the period subsequent to one covered by the

Bankruptcy Judgment.

       13.     Among the Appellant's assertions of the State Court's recent factual conclusions

and her contentions, based thereon, are the following statements:

       "In that regard, it should be noted that the State Supreme Court subsequently held
       that Gennady had willfully kept himself unemployed and was capable of earning
       substantial income. See. Gore1ik v. Gorelik, 71 Ad.3rd 730, 895 NYS2d 717
       (March 9, 2010)." (Appellant's Brief, p. 17);

       "He has been found by the State court to have willfully failed to seek and obtain
       employment. It should be held to be against public policy for a parent, such as he,
       to pull himself out of employment, dissipate all of his substantial assets, and then
       take a bankruptcy bath, while his newly divorced wife, must go to school to de­

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        velop a career, take care ofthe children full time, and contend with endless litiga.
        tion on the part ofthe father ofthe children." (Appellant's Brief, p. 23),

        "The State court was going through a careful procedure of gathering the facts and
        determining the equities regarding who should bear the burden of the costs of the
        litigation." (Appellant's Brief, p. 28);

       "At the time of the bankruptcy proceedings, the question of apportionment of
       costs was actively before the State domestic relations court. By its order, the
       bankruptcy court prevented the State Court judge from doing what the law says he
       ought to be able to do. The courts below do not suggest that they were convinced
       that such an aware not be made" (Appellant's Brief, p. 30);

       "We cannot say, with certainty, what the State Court would have done; however,
       the fact that the State Court later found Gennady to be a malinger as to employ­
       ment, and accordingly awarded child support against him, is in contrast to the
       more codling approach taken by the Bankruptcy Court," (Appellant's Brief, p.
       31);

       "For the foregoing reasons, the judgment should be vacated, and the case should
       be remanded to the Bankruptcy Court, with instructions that it remand the case to
       the State Court for a determination of whether Elena is entitled to reimbursement
       since her expenses were in behalf ofthe children." (Appellant's Brief, p. 34);

       "His procurement of a forensic psychiatric report from a Russian expert of his
       choice was to be his means ofjustifYing to the State Court his refusal to work and
       his consequent huge arrears for child support, as well his application to the Court
       for a downward modification of his child support obligation. Low and behold, the
       report totally fails to support Gennady's claim that he suffers from some malady
       that prevents him from working." (Appellant's Brief, p. 35); and

       "In effect, the lower Courts deprived her of the State Court then in progress effort
       to provide such a hearing, and then refused to give such a hearing itself." (Appel­
       lant's Brief, p. 36).

       14.    Appellant rests all of her above extra-record assertions upon her citation to "Gorelik

v. Gorelik, 71 Ad.3rd 730,895 NYS2d 717 (March 9, 2010)". (Appellant's Brief, p. 17). In fact,

this citation immediately follows her above·quoted allegation: "[IJt should be noted that the State

Supreme Court subsequently held that Gennady had willfully kept himself unemployed and was

capable of earning substantial income." (id.). Conspicuous by its absence is the Appellant's fail­

ure to inform this Court, that she cites Decision by Appellate Division, Second Department, af­

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firming the State Supreme Court's Decision and Order of July 14,2004, granting Appellee's ap­

plication for downward modification of child support. Thus, the Appellant's representations to

this Court that the State Supreme Court found Appellee to be "a malinger" and "willfully unem­

ployed" are grotesque fabrications of State Supreme Court's Decision and Order of July 14, 2008

and the Second Department, Appellate Division, Decision of March 9, 2010, affirming same.

        15.   Appellee would emphasize that concurrent with the filing of this motion, he is filing

the Motion to Supplement the Record with the authenticated copy of the State Supreme Court's

Decision and Order of July 14, 2008, to show that the Appellant's contingent claim for reim­

bursement was rejected in that very order and that no appeal was taken by her. Appellee did ap­

peal but only to with the respect to the amount of downward modification. The Appellate Divi­

sion, Second Department, affirmed.

       16.    As such, the citation that Appellant gives in her Brief to the affirmance by the Ap­

pellate Division, Second Department leaves no doubt that her contingent claim for reimburse­

ment of her legal fees and expenses has been completely extinguished by the State Court. This

now-extinguished claim was found to be dischargeable by both the Bankruptcy Court and the

District Court, as not constituting "support" within the meaning of Section 523(a)(5) of the

Bankruptcy Code. These two decisions are the subject of the instant appeal. It should be obvious

why Appellant went out of her way to conceal these facts, since they irrefutably prove that the

Appellant has no standing to prosecute this appeaL

       17.    No prior application for this relief has been made.

       WHEREFORE, upon this declaration and the memorandum in support hereof, the Appel­

lee respectfully requests this Court to grant this application and to strike portions of Appellant's




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Brief, referencing extra-record material, and parts of her Appendix, which are either not subject

to appellate review, or outside of the record on appeal, or constitute material excluded in

accordance with Rule 30(a)(2), F. R. App. P.

Dated:   Brooklyn, New York


                                                            &~~"'~ ~o~QL
         April 18,2011


                                                           Gennady Gorelik
                                                           Appellee pro se
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                                                           Brooklyn, NY 11224
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                           UNITED STATES COURT OF APPEALS
                                        for the
                                   SECOND CIRCUIT


 In re: Gennady Gorelik,
       Debtor

Gennady Gorelik,
     Plaintiff-Counter-Defendant-Appellee,                         Docket Number: 10-1923

v.

Elena Gorelik,
      Defendant-Counter-Claimant-Appellant.



       APPELLEE'S MEMORANDUM OF LAW IN SUPPORT OF IDS MOTION
      TO STRIKE THE PARTS OF THE APPELLANT'S BRIEF AND APPENDIX

           A. DOCUMENTS THAT ARE NOT SUBJECT TO APPELLATE REVIEW
             MUST BE STRICKEN FROM THE APPELLANT'S SPECIAL APPENDIX

       Rule 8002(b), F. R. Bankr. P. governs appellate review of certain post-judgment orders. It

provides in relevant part as follows:

       "This provision applies to a timely motion:

       (1) to amend or make additional fmdings of fact under Rule 7052, whether or not
       granting the motion would alter the judgment;

       (2) to alter or amend the judgment under Rule 9023;

       (3) for a new trial under Rule 9023; or

       (4) for relief under Rule 9024 ...

       Appellate review of an order disposing of any of the above motions requires the
       party, in compliance with Rule 8001, to amend a previously flied notice of ap­
       peal." (emphasis added).

Consequently, Appellant is statutorily precluded from seeking this Court to review the post-

judgment order, denying her Motion to Amend Facts, made pursuant Bankruptcy Rule 9023.
                                                 1
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         Similarly, Appellee did not file a notice of appeal from the Bankruptcy Court's order de­

 nying his post-judgment motion for leave to proceed in forma pauperis. Rule 8001(a), F. R.

 Bankr. P., provides that the failure to file a notice of appeal affects the validity of appeal. It is

. well· settled that the absence of proper "notice of appeal affects the jurisdiction of a reviewing

 court to consider the bankruptcy court's judgment or order" (Matter of Emergency Beacon

 Corp., 666 F.2d 754, 758 [2d Cir. 1981]).

        In this connection, the US Supreme Court explained: "The requirement that jurisdiction

 be established as a threshold matter 'springs from the nature and limits of the judicial power of

 the United States' and is 'inflexible and without exception'." (Steel Company v. Citizens for a

 Better Environment, 523 U.S. 83, 94-95, 118 S.Ct. 1003, 1012 [1998] quoting Mansfield, C. &

 L.MR. Co. v. Swan, 111 U.S. 379, 382, 4 S.Ct. 510, 511, [1884]).

        Local Rule 32.1 (c) governs the contents of a Special Appendix. It provides in relevant

 part: "[T]he parties must file a Special Appendix that ... contains the (l) orders, opinions, and

judgments being appealed." Consequently, since orders 4 and 6 (SPA 49-57,59-60) are not sub­

ject to the appellate review, the Appellee respectfully requests this Court to strike them from the

 Appellant's Special Appendix.

                 B. DOCUMENTS, WHICH ARE NOT SUBJECT TO APPELLATE
                  REVIEW, OUTSIDE THE RECORD, OR CANNOT BE INCLUDED
                    MUST BE STRICKEN FROM THE APPELLANT'S APPENDIX

        As this Court explained in Petitions ofRudder, 159 F.2d 695, 696 (2d Cir. 1947): "Since

 the material printed in the appendices has not been incorporated into the records on appeal, we

 shall not consider it in determining the merits of the appeal."




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       Rule 30(a)(2), F. R. App. P., provides that memoranda oflaw "should not be included in

the appendix unless they have independent relevance". This Court explained the meaning of "in­

dependent relevance" as follows: "Memoranda of law submitted to the trial court have no proper

place either in the record transmitted to this court or in an appendix except when they become

relevant to determine whether an issue was raised in the district court." (Aquascutum ofLondon,

Inc. v. S. S. American Champion, 426 F.2d 205, 213 n. 6 [2d Cir. 1970]). See also, NISH v.

Rumsfeld, 348 F.3d 1263, 1272 (10th Cir. 2003) ("Fed. R.App. P. 30, dealing with Appendices,

is applicable to this appeal and specifically excludes items such as memoranda oflaw).

       Nowhere in her Brief, does Appellant rely on the aforementioned memoranda of law to

show that an issue was raised below. As such, those two documents violate Rule 30(a), F. R.

App. P., and must also be stricken from the Appellant's Appendix:

                     C. PORTIONS OF THE APPELLANT'S BRIEF MUST
                   STRICKEN AS REFERRING TO EXTRA-RECORD MATERIAL

       This Court lacks jurisdiction to receive new "evidence", contained the State Court's De­

cision of March 9, 2010, since it is outside the record on appeal. Rule lO(a), F. R. App. P., enu­

merates items constituting the record on appeal as follows: "1) the original papers and exhibits

filed in the district court; 2) the transcript of proceedings, if any; and 3) a certified copy of the

docket entries prepared by the district court." It is a standard proposition in appellate practice

that "absent extraordinary circumstances, federal appellate courts will not consider rulings or

evidence which are not part of the trial record" (International Business Machines Corp. v. Edels­

tein, 526 F.2d 37, 45 [2d Cir. 1975]).

       Under similar circumstances, this Court granted motion to strike, holding that a party

cannot introduce factual conclusions from a recent state court's decision into appellate record

"for the first time on appeal" (DiBella v. Hopkins, 403 F.3d 102, 118 (2d Cir. 2005). See also,

                                                  3
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Utah v. u.s. Dept. ofInterior, 535 F 3d 1184, 1196 n. 7 (10th Cir. 2008) citing De Bel/a, 403 F.

3d at 118 ("[N]ew evidence not submitted to the district court is not properly part of the record

on appeal"); Henn v. National Geographic Soc., 819 F.2d 824, 831 (7th Cir. 1987) ("The parties

may rely on appeal only on materials furnished to the district judge. Otherwise they deprive the

opposing party of an opportunity to comment on them and the district judge of an opportunity to

evaluate their significance. ").

                                                           Respectfully submitted,




                                                           Appellee Pro Se
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                                                           Brooklyn, NY 11224
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 UNITED STATES COURT OF APPEALS FOR THE SECOND CIRCUIT

CAPTION:

____     _____________ v.
Gennady Gorelik
       ~~




                                                            CERTIFICATE OF SERVICE
Elena Gorelik                                               Docket Number: 10-1923




       I, _G_e_n_n_ad....:y:...-G_o_re_li_k_ _ _ _ _ _ _ _, hereby certify under penalty of perjury that on
                                      (name)
April 18, 2011                                      , I served a copy of Motion to Supplement the Record and

 Motion to Strik~d~~Aions of Appellant's Brief and Appendix
                                            (list all documents)

by (select all applicable)*

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on the following parties (complete all information and add additional pages as necess~y?                    ::
Henry J. Beitel, Esq.          324 Brower Avenue                    Rockville Ctr NY        1\):g~157fjC
                                                                                                   (9       I'>()
Name                          Address                              City             State


Name                          Address                              City             State          Zip Code


Name                          Address                              City             State          Zip Code


Name                          Address                              City             State          Zip Code



04/18/2011
          Taday's Date
                                                             !kv-~at¥.JJ
*If different methods of service have been used on different parties, please indicate on a separate
page, the type of service used for each respective party.


Certificate of Service Form
